            Case 1:18-cv-00444-RP Document 241 Filed 01/05/21 Page 1 of 3



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

MWK RECRUITING, INC.,             §
                                  §
           Plaintiff,             §
                                  §
v.                                §                                                  1:18-CV-444-RP
                                  §
EVAN P. JOWERS,                   §
                                  §
                                  §
           Defendant.             §
                                  §
EVAN P. JOWERS,                   §
                                  §
           Counterplaintiff,      §
                                  §
v.                                §
                                  §
MWK RECRUITING, INC., ROBERT E.   §
KINNEY, RECRUITING                §
PARTNERS GP, INC.,                §
KINNEY RECRUITING LLC,            §
COUNSEL UNLIMITED LLC, and KINNEY §
RECRUITING LIMITED,               §
                                  §
           Counterdefendants.     §

                                                        ORDER

         Before the Court is Defendant/Counterplaintiff Evan P. Jowers’s (“Jowers”) appeal of

United States Magistrate Judge Andrew W. Austin’s Order, (Dkt. 236). (Appeal, Dkt. 239). 1 In his

order, Judge Austin denied eight discovery motions filed by Jowers, and granted

Plaintiff/Counterdefendant MWK Recruiting, Inc. (“MWK”) and Counterdefendants Robert E.

Kinney (“Kinney”), Michelle W. Kinney, Recruiting Partners GP, Inc., Kinney Recruiting LLC,

Counsel Unlimited LLC, and Kinney Recruiting Limited’s (collectively, the “MWK entities”) Motion



1 Jowers captions his filing as a “Objections to Magistrate’s Order.” (Dkt. 239, at 1). Because the Court is reviewing

Judge Austin’s order, (Dkt. 236), the Court construes Jowers’s motion as an appeal of Judge Austin’s order.


                                                             1
          Case 1:18-cv-00444-RP Document 241 Filed 01/05/21 Page 2 of 3



to Quash Subpoenas and for Protective Order, (Dkt. 217), and Expedited Motion for Protective

Order, (Dkt. 225). (Order, Dkt. 236, at 1). Jowers timely filed his appeal on December 31, 2020.

(Appeal, Dkt. 236). Kinney and the MWK entities filed a response stating they have no objections to

Judge Austin’s Order.

        A district judge may reconsider any pretrial matter determined by a magistrate judge where it

has been shown that the magistrate judge’s order is clearly erroneous or contrary to law. 28 U.S.C. §

636(b)(1)(A). District courts apply a “clearly erroneous” standard when reviewing a magistrate

judge’s ruling under the referral authority of that statute. Castillo v. Frank, 70 F.3d 382, 385 (5th Cir.

1995). The clearly erroneous or contrary to law standard of review is “highly deferential” and

requires the court to affirm the decision of the magistrate judge unless, based on the entire evidence,

the court reaches “a definite and firm conviction that a mistake has been committed.” Gomez v. Ford

Motor Co., No. 5:15-CV-866-DAE, 2017 WL 5201797, at *2 (W.D. Tex. Apr. 27, 2017) (quoting

United States v. United States Gypsum Co., 333 U.S. 364, 395 (1948)). The clearly erroneous standard

“does not entitle the court to reverse or reconsider the order simply because it would or could

decide the matter differently.” Id. (citing Guzman v. Hacienda Records & Recording Studio, Inc., 808 F.3d

1031, 1036 (5th Cir. 2015)).

        Jowers argues that because his Motion for Sanctions Resulting from Recruiting Partners GP,

Inc.’s [sic] Failure to Appear at its Deposition, (Dkt. 226), sought involuntary dismissal under Rule

41, the motion should have been considered a dispositive motion requiring a report and

recommendation under Rule 1(f) of Appendix C of the Local Rules. The Court will consider the

motion as dispositive and will construe the portion of Judge Austin’s order regarding that motion as

a report and recommendation. A party may serve and file specific, written objections to a magistrate

judge’s findings and recommendations within fourteen days after being served with a copy of the

report and recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.



                                                     2
          Case 1:18-cv-00444-RP Document 241 Filed 01/05/21 Page 3 of 3



§ 636(b)(1)(C). Because Jowers timely objected to the portion of Judge Austin’s order relating to

Jowers’s motion for sanctions, (Dkt. 226, at 11–12), the Court reviews that portion of the order de

novo. Having done so, the Court overrules Jowers’s objections and adopts that portion of Judge

Austin’s order, construed as a report and recommendation, as its own order.

       The Court reviews the other portions of Judge Austin’s order that Jowers appealed for clear

error or for conclusions that are contrary to law. Having done so, the Court denies Jowers’s appeal.

Upon its own review, this Court finds that those portions of Judge Austin’s order were not clearly

erroneous or contrary to law.

       Accordingly, the Court AFFIRMS Judge Austin’s Order, (Dkt. 236), and DENIES Jowers’s

objections and appeal, (Dkt. 239).

       SIGNED on January 5, 2021.




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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